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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  Christina Shank,                    )
                                      )
              Plaintiff,              )
                                      )
        vs.                           ) Case No.: 1:20-cv-585
                                      )
  Radius Global Solutions, LLC,       )
                                      )
              Defendant.              )
  ____________________________________)___________________________________

       COMPLAINT SEEKING DAMAGES FOR VIOLATION OF
         THE FAIR DEBT COLLECTION PRACTICES ACT

                                         Introduction

     1. This is an action for actual and statutory damages, legal fees and costs pursuant to
        the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et. seq (hereinafter
        referred to as the “FDCPA”), which prohibits debt collectors from engaging in
        abusive, deceptive, and unfair practices. Id.

     2. The purpose of the FDCPA is to eliminate abusive debt collection practices by
        debt collectors, to insure that those debt collectors who refrain from using abusive
        debt collection practices are not competitively disadvantaged, and to promote
        consistent State action to protect consumers against debt collection abuses. Id.

     3. If a violation occurs, “the FDCPA is a strict liability statute that makes debt
        collectors liable for violations that are not knowing or intentional.” Donohue v.
        Quick Collect, Inc., 592 F.3d 1027, 1030 (9th Cir. 2010).

     4. Even a single violation of the FDCPA is sufficient to support liability. Taylor vs.
        Perrin, Landry, deLaunay, & Durand, 103 F.3d 1232, 1238 (5th Cir. 1997).

                                          Jurisdiction

     5. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15
        U.S.C. § 1692k(d).

                                             Venue

     6. Venue is proper in this Judicial District.

     7. The acts and transactions alleged herein occurred in this Judicial District.

     8. The Plaintiff resides in this Judicial District.
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     9. The Defendant transacts business in this Judicial District.

                                            Parties

     10. The Plaintiff, Christina Shank, is a natural person.

     11. The Plaintiff is a “consumer” as that term is defined by § 1692a.

     12. The Plaintiff is “any person” as that term is used in 15 U.S.C. § 1692d preface.

     13. The Defendant, Radius Global Solutions, LLC, is a debt collector and/or debt
         purchaser operating from an address at 7831 Glenroy Road, Suite #250, Edina,
         MN 55439.

     14. The Defendant is a debt collection agency and the Defendant is licensed by the
         State of Indiana. See Exhibit “1” attached hereto.

     15. Defendant regularly attempt to collect, directly or indirectly, debts owed or due or
         asserted to be owed or due another.

     16. The Defendant regularly collects or attempts to collect, directly or indirectly,
         debts owed or due or asserted to be owed or due another that arose out of
         transactions in which the money, property or services which are the subject of the
         transactions are primarily for personal, family or household purposes.

                                     Factual Allegations

     17. The Defendant is a debt collection agency attempting to collect a debt from
         Plaintiff.

     18. The Plaintiff incurred a debt to that was for primarily for personal, family or
         household purposes as defined by §1692(a)(5).

     19. The debt owed by Plaintiff went into default.

     20. After the debt went into default the debt was placed or otherwise transferred to the
         Defendant for collection.

     21. The Plaintiff disputes the debt.

     22. The Plaintiff requests that the Defendant cease all further communication on the
         debt.

     23. The Defendant’s collector(s) were employee(s) and/or representative(s) of the
         Defendant at all times mentioned herein.

     24. The Defendant acted at all times mentioned herein through its employee(s) and/or
         representative(s).

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     25. The Plaintiff retained Ryan S. Wright for legal representation regarding the
         Plaintiff’s debts.

     26. Prior to December 4, 2019, the Defendant had reported to TransUnion credit
         reporting agency that the Plaintiff owed a debt to its client.

     27. The reporting of a debt to a credit reporting agency by a debt collector is a
         communication to which the FDCPA applies. See Daley vs. A & S Collection
         Assocs., Inc., 2010 WL 2326256 (D. Oreg. 2010); Akalwadi v. Risk Mgmt
         Alternatives, Inc., 336 F.Supp.2d 492, 503 (D. Md. 2004).

     28. On December 4, 2019, the Plaintiff’s legal counsel sent a letter to the Defendant
         via facsimile. This facsimile transmission to the Defendant was successfully
         received by the Defendant. See Exhibit “2” attached hereto.

     29. This letter indicated that Plaintiff disputed the debt that Defendant is attempting to
         collect. Section 1692e(8) does not require an individual’s dispute be valid or
         reasonable. Instead, the plaintiff must simply make clear that he or she dispute
         the debt. Evans v. Portfolio Recovery Associates, 2018 U.S.App. LEXIS 11372
         *14 (7th Cir. 2018); see also DeKoven v. Plaza Associates, 599 F.3d 578, 582 (7th
         Cir. 2010)(“[A] consumer can dispute a debt for ‘no reason at all . . .”).

     30. Communications sent via facsimile are assumed to have been received by the
         intended recipient if the facsimile confirmation indicates a successful
         transmission. See Laouini v. CLM Freight Lines, Inc., 586 F.3d 473 (7th Cir.,
         2009)(holding that facsimile confirmation generated by the…fax machine was
         sufficient to create a factual dispute that …was received…); Bridgeview Health
         Care Center Ltd. v. Clark, 2011 WL 4585028, 3 (N.D.Ill 2011)(“Indeed, in the
         facsimile transmission context, it is commonly understood that ‘success’ means
         that ‘the two fax machines have performed an electronic “handshake” and that the
         data has been transmitted from one machine to the other.”).

     31. On February 3, 2020, the Plaintiff obtained and reviewed a copy of her
         TransUnion credit report. See Exhibit “3” attached hereto.

     32. On February 3, 2020, the Defendant was continuing to report the Plaintiff’s debt
         to it without indicating that the debt was disputed. See Exhibit “3” attached
         hereto.

     33. The TransUnion credit report dated February 3, 2020 indicates that it was last
         reported or verified January of 2020. See Exhibit “3” attached hereto.

     34. The TransUnion credit report dated February 3, 2020, fails to indicate that the
         debt was disputed by the consumer. See Exhibit “3” attached hereto.

     35. By failing to communicate that the debt at issue was disputed, Defendant violated
         the FDCPA. Evans v. Portfolio Recovery Assocs., 2018 U.S. App.LEXIS 11372
         *12 – 13 (7th Cir. 2018)(“Despite receiving the Letters, PRA still reported
         plaintiffs’ debts to credit reporting agencies without noting that the debt amounts

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        were disputed. This is a clear violation of the statute”); see also, Sayles v.
        Advanced Recovery Systems, Inc., 865 F.3d 246 (5th Cir. 2017).

     36. The Defendant’s violation of the FDCPA is material because Defendant’s failure
         to update her credit report would make an unsophisticated consumer believe that
         she did not have the rights Congress had granted to her under the FDCPA. This
         alleged violation of the FDCPA is sufficient to show an injury-in-fact. Evans v.
         Portfolio Recovery Assocs., 2018 U.S. App. LEXIS 11372, *8-*9 (7th Cir. 2018);
         See also Sayles, supra, 865 F.3d at 250 (debt collector’s violation exposed
         consumer to “a real risk of financial harm caused by an inaccurate credit rating”).

     37. The Defendant’s violation of the FDCPA is a material violation of the statute.
         Indeed, as the Seventh Circuit Court of Appeals stated, “[p]ut simply, the failure
         to inform a credit reporting agency that the debtor disputed his or her debt will
         always have influence on the debtor, as this information will be used to determine
         the debtor’s credit score”. Evans, supra, at *20.

     38. The Defendant’s collection communications are to be interpreted under the
         “unsophisticated consumer” standard. See Gammon vs. GC Services, Ltd.
         Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                  First Claim for Relief:
                                 Violation of the FDCPA

     1. The allegations of Paragraphs 1 through 38 of the complaint are realleged and
        incorporated herewith by references.

     2. The Defendant violated 15 U.S.C. § 1692e(8) by continuing to attempt to report a
        debt to a credit reporting agency when it knew the debt was disputed by the
        consumer. See 15 U.S.C. 1692e(8) (“…the following conduct is a violation of
        this section…including the failure to communicate that a disputed debt is
        disputed…”); Evans v. Portfolio Recovery Assocs., 2018 U.S. App.LEXIS 11372
        (7th Cir. 2018); see also Hoffman vs. Partners in Collections, Inc., 1993 U.S. Dist.
        LEXIS 12702 (N.D. Ill. 1993); Brady vs. Credit Recovery Co., Inc., 160 F.3d 64,
        65 (1st Cir. 1998)(Section 1692(e)(8) requires debt collector who knows, or
        should know, that a given debt is disputed to disclose its disputed status. This
        standard requires no notification by the consumer, written or oral, and instead,
        depends solely on the debt collector’s knowledge that a debt is disputed,
        regardless of how or when that knowledge is acquired); Finnegan vs. Univ. of
        Rochester Med. Ctr, 21 F.Supp.2d 223 (W.D.N.Y. 1998); 1st Nationwide
        Collection Agency, Inc. v. Werner, 654 S.E.2d 428 (Ga.Ct.App. 2007); Randall
        vs. Midland Funding, LLC, 2009 WL 2358350 (D. Neb. 2009); Kinel v. Sherman
        Acquisition II, L.P., 2007 WL 2049566 (S.D.N.Y. 2007); Acosta v. Campbell,
        2006 WL 146208 (M.D. Fla. 2006); see also Daley vs. A & S Collection
        Associates, Inc., 717 F.Supp.2d 1150 (D.Oreg. 2010)(summary judgment issued
        for Plaintiff when the Defendant communicated credit information to credit
        reporting agency which it knew or should have known to be false); Smith v.
        National Credit Systems, Inc., 807 F.Supp.2d 836 (D.Ariz. 2011)(holding that


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        bona fide error defense did not excuse debt collector’s error in failing to report
        that debt was in dispute).

     3. The Defendant's acts and omissions intended to harass the Plaintiff in violation of
        the FDCPA pursuant to the preface of 15 U.S.C. § 1692d by continuing to report
        the debt to a credit reporting agency when it knew the debt was disputed by the
        consumer.

     4. The Defendant's acts and omissions constitute unfair and unconscionable attempts
        to collect a debt in violation of the FDCPA pursuant to the preface of 15 U.S.C. §
        1692f by continuing to report the debt to a credit reporting agency when it knew
        the debt was disputed by the consumer.

     5. The Defendant misrepresented the status of this debt to a credit reporting agency
        which constitutes a violation of 15 U.S.C. § 1692e.

     6. As a result of the above violations of the FDCPA, Defendant is liable to Plaintiff
        for actual damages, statutory damages of $1,000 per defendant, attorney fees, and
        costs.

                                     Prayer for Relief

        WHEREFORE, the Plaintiff prays that the Court grant the following:

        1. A finding that the Defendant violated the FDCPA and/or an admission from
           the Defendant that it violated the FDCPA.

        2. Actual damages under 15 U.S.C. § 1692k(a)(1).

        3. Statutory damages under 15 U.S.C. § 1692k(a)(2)(A).

        4. Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

        5. Such other and further relief as the Court deems just and proper.


        Respectfully submitted,

        /s/ John T. Steinkamp
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